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B2030 (Form 2030) (12/15)

                                                                       United States Bankruptcy Court
                                                                              Southern District of New York
 In re      Paul Teutul, Jr.                                                                                                                     Case No.    18-35310-cgm
                                                                                                         Debtor(s)                               Chapter     13

                 AMENDED DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ...................................................................                 $                7,500.00
             Prior to the filing of this statement I have received ......................................................                    $                3,750.00
             Balance Due .................................................................................................................   $                3,750.00

2.     $    0.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                   Debtor                     Other (specify):                Non-debtor Third Party

4.     The source of compensation to be paid to me is:
                   Debtor                     Other (specify):                Non-debtor Third Party

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.          In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in connection with the bankruptcy;
            b.     Preparation and filing of any amendment to petition, schedules, statement of affairs and plan which may be required;
            c.     Representation of the debtor at the adjourned meeting of creditors and confirmation hearing, and any adjourned hearings
                   thereof;
            d.     Meetings with Client to further and more fully explain the Bankruptcy process;
            e.     Advise Client concerning his obligations and duties under the Bankruptcy Code and Rules, applicable Court orders, and
                   the provisions of Client's Chapter 13 Plan;
            f.     Preparation and filing of the documents required by Section 521 of the Bankruptcy Code, with Client's assistance and
                   input;
            g.     Retrieval and/or recovery of estate property held by third parties and adjudication of related claims;
            h.      Preparation, filing and appearances for all motions required to protect Client's interests
                   (which may include, but shall not be limited to, motions to approve sale of property or retention of other professionals)
            i.     Preparation and filing plan amendments to obtain Plan confirmation;
            j.      Representing the Client in connection with any motion by the Chapter 13 Trustee seeking dismissal or conversion of the
                   case;
            k.     Monitoring the docket for issues related to discharge; and
            l.     Representation of Client (including counseling) with respect to the reaffirmation, redemption, or surrender of property.

                   * The Retainer received by counsel shall be applied hourly to billing per the engagement letter. Additional legal
                   fees shall be payable by third party funds or by the Debtor upon application to and approval by the Court.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:


            a. Client will also be responsible to pay a fee to an educational company approved by the U.S. Trustee's office in Financial
            Management. Without the certificate of participation in this course, Client will not be able to receive a discharge;
            b. Preparation and filing of any post-confirmation amendments to Plan.
            c. Representing the Client in a contested matter or an Adversary Proceeding.
            d. Representation of Client in connection with a motion by a Trustee to reopen the case for the inclusion of
            newly discovered assets.


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 In re       Paul Teutul, Jr.                                                                         Case No.    18-35310-cgm

                                                               Debtor(s)



               AMENDED DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                                                       (Continuation Sheet)

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 12, 2018                                                             /s/ Erica Feynman Aisner
     Date                                                                       Erica Feynman Aisner
                                                                                DelBello Donnellan Weingarten Wise & Wiederkehr, LLP
                                                                                One North Lexington Avenue
                                                                                White Plains, NY 10601
                                                                                (914) 681-0200 Fax: (914) 684-0288




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